Case 3:20-cv-18404-ZNQ-DEA Document 59 Filed 08/25/22 Page 1 of 4 PageID: 900




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



FREEDOM FUNDING GROUP, INC.,

                        Plaintiff,
                                                     Civil Action No. 20-18404 (ZNQ) (DEA)
                       v.
                                                                     ORDER
THE FREEDOM FUNDINGGROUP
L.L.C. agent of THE FREEDOM FUNDING
GROUP, et al.,

                        Defendants.


QURAISHI, District Judge

       THIS MATTER comes before the Court upon a Motion to Dismiss by Defendant Gerald

A. Firestone. (ECF No. 42.) Plaintiff Freedom Funding Group, Inc., filed opposition. (ECF No.

45.) Also before the Court is Plaintiff’s unopposed Motion for Summary Judgment against

Defendants Gerald A. Firestone and Lawrence Gordon (collectively, “Individual Defendants”).

(ECF No. 43.) The Court has carefully considered the parties’ submissions and decided the Motion

without oral argument pursuant to Federal Rule of Civil Procedure 78 and Local Civil Rule 78.1.

For the reasons set forth in the accompanying Opinion, and for good cause shown,

       IT IS on this 25th day of August 2022,

       ORDERED that Defendant Firestone’s Motion to Dismiss (ECF No. 42) is hereby

DENIED AS MOOT; and it is further

       ORDERED that Plaintiff’s Motion for Summary Judgment (ECF No. 43) is hereby

GRANTED in part and DENIED in part;
Case 3:20-cv-18404-ZNQ-DEA Document 59 Filed 08/25/22 Page 2 of 4 PageID: 901




       ORDERED that the Court GRANTS Plaintiff’s summary judgment as to the following

Counts against Defendant Gordon: Count Two (unfair competition pursuant the Lanham Act);

Count Three (Anti-Cybersquatting Consumer Protection Act); Count Four (common law service

mark infringement); Count Five (common law unfair competition); Count Six (trademark

infringement pursuant to N.J.S.A. § 56:3-13.16); and Count Seven (unfair competition pursuant to

N.J.S.A. § 56:4-1); Count Eight (tortious interference); Count Nine (misappropriation of trade

secrets in violation of N.J.S.A. § 56:15-1); and Count Ten (conversion); it is further

       ORDERED that Defendant Gordon is permanently enjoined from:

               (1) using Plaintiff’s name, service mark, domain name or other identification that

               includes “Freedom Funding” and any other domain name, design or mark

               confusingly similar to Plaintiff’s name, service mark, and domain name;

               (2) displaying or employing in trade or commerce Plaintiff’s service mark

               consisting of a stylized white eagle upon a blue circle, and displaying or employing

               “Freedom Funding Group” (e.g., “The Freedom Funding Group”) or any derivative

               thereof in trade or commerce;

               (3) utilizing in trade or commerce any domain names or email addresses to

               communicate with third parties that are likely to cause confusion;

               (4) transferring, assigning, using in trade or commerce the domain name

               “thefreedomfundinggroup.com”;

               (5) utilizing in commerce or any other fashion Plaintiff’s proprietary trade secrets,

               including but not limited to leads and customer or client information; and
Case 3:20-cv-18404-ZNQ-DEA Document 59 Filed 08/25/22 Page 3 of 4 PageID: 902




                (6) interfering in any of Plaintiff’s contractual relationships or prospective business

                relationships, including Plaintiff’s relationships with financial institutions and its

                clients or customers.

          ORDERED that the Court DENIES Plaintiff’s summary judgment as to the following

Count against Defendant Gordon: Count One (Computer Fraud and Abuse Act, 18 U.S.C. § 1030);

it is further

          ORDERED that the Court GRANTS Plaintiff’s summary judgment as to the following

Counts against Defendant Firestone: Count Eight (tortious interference); Count Nine

(misappropriation of trade secrets in violation of N.J.S.A. § 56:15-1); and Count Ten (conversion);

it is further

          ORDERED that Defendant Firestone is permanently enjoined from:

                (1) utilizing in commerce or any other fashion Plaintiff’s proprietary trade secrets,

                including but not limited to leads and customer or client information; and

                (2) interfering in any of Plaintiff’s contractual relationships or prospective business

                relationships, including Plaintiff’s relationships with financial institutions and its

                clients or customers.

          ORDERED that the Court DENIES Plaintiff’s summary judgment as to the following

Counts against Defendant Firestone: Count One (Computer Fraud and Abuse Act, 18 U.S.C.

§ 1030); Count Two (unfair competition pursuant the Lanham Act); Count Three (Anti-

Cybersquatting Consumer Protection Act); Count Four (common law service mark infringement);

Count Five (common law unfair competition); Count Six (trademark infringement pursuant to

N.J.S.A. § 56:3-13.16); and Count Seven (unfair competition pursuant to § N.J.S.A. 56:4-1); it is

further
Case 3:20-cv-18404-ZNQ-DEA Document 59 Filed 08/25/22 Page 4 of 4 PageID: 903




       ORDERED that the judgment is entered against Defendant Gordon in the amount of

$71,972.95 and against Defendant Firestone in the amount of $30,533.00; it is further

       ORDERED that within 30 days of the date of this Order, Plaintiff shall submit

supplemental briefing on the issue of damages.



                                                   s/ Zahid N. Quraishi
                                                   ZAHID N. QURAISHI
                                                   UNITED STATES DISTRICT JUDGE
